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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                 Civil Action No. 1:17-CV-2989-AT
  v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.


   COALITION PLAINTIFFS’ REQUEST FOR ORAL ARGUMENT ON
            JOINT DISCOVERY DISPUTE (DOC. 1360)



       Coalition Plaintiffs respectfully request an expedited oral argument, to the

extent the Court feels it would be beneficial, on the remaining issues in the

pending Joint Discovery Dispute (Doc. 1360) covering a number of documents that

logistically should be produced in advance of pending depositions (Doc. 1399),

currently set to begin as early as July 6, 2022. The dispute concerns documents

related to the; reported breached Coffee County server containing the state’s EMS

software applications, election data, and alleged compromise of numerous voting

system components; State Election Board’s past and current investigations of the

reported breach; and reported malfunctions of the Coffee County voting system. At




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the June 7, 2022 conference, the Court determined that the Coffee County-related

depositions could go forward:


      “But, you know, you are, of course, welcome to take
      the deposition of anyone you want who has knowledge as to Coffee
      County.” ( Tr.27:1-3)

      The Court did not rule on remaining issues in the Joint Discovery Dispute.

To the extent the Court would find it helpful to hold oral arguments to resolve

remaining issues, Coalition Plaintiffs seek expedited oral arguments.




s/ Russell T. Abney                          /s/ Robert A. McGuire, III
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 DONNA CURLING, ET AL.,
 Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

              CERTIFICATE OF SERVICE AND COMPLIANCE

      I hereby certify that on June 27, 2022, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which

will automatically send notification of such filing to all attorneys of record. In

addition, pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR

5.1, using font type of Times New Roman and a point size of 14.

                                               /s/ Robert A. McGuire, III
                                               Robert A. McGuire, III




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